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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                           CIVIL MINUTES - GENERAL
 Case No.         2:18-cv-02272-DMG-SSx                                          Date    February 15, 2018
 Title            Shannon Newby v. Punch TV Studios, Inc.,




 Present: The                    SUZANNE H. SEGAL, UNITED STATES MAGISTRATE JUDGE
 Honorable


                  Chris Silva                             Not Recorded                           None
                Deputy Clerk                        Court Reporter / Recorder                   Tape No.
                Attorneys for Plaintiff:                            Attorneys for Defendants:
                  Lawrence J Zerner                                       Robert K Lu
                                                                          Bruce Isaacs


 Proceedings:                   (IN CHAMBERS) ORDER GRANTING REQUEST TO CONTINUE
                                JUDGMENT DEBTOR EXAMINATION


               The Court is in receipt of Plaintiff Shannon Newby’s Request to Continue Judgment
         Debtor Examination (Docket No. 32). The Court GRANTS Plaintiff’s request and continues
         the Judgment Debtor Examination from Tuesday, February 19, 2019, at 10:00 am to
         Tuesday, April 2, 2019, at 10:00 am.

         IT IS SO ORDERED.




                                                                                         0       :       00
                                                              Initials of Preparer              CSI



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